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                    IN THE UNITED        STATES   DISTRICT     COURT
                    FOR THE     SOUTHERN DISTRICT        OF   GEORGIA
                                STATESBORO DIVISION




UNITED    STATES      OF AMERICA            *


               v.                           *       CR   696-004


KYLE    MICHAEL     BREWER                  *




                                       ORDER




        This    Court    sentenced Defendant Kyle Michael Brewer to

serve life plus five years in prison in 1996 following his

conviction       at     trial    for   various     cocaine     and   crack   cocaine

offenses.       On September 8, 2015,             the sentence was reduced to

387 months pursuant to 18 U.S.C.                   § 3582(c)(2).        At present,

Brewer has filed a "Request for Immediate Release Under the

Holloway Doctrine."             The Government opposes the motion.

        Finality of criminal sentences is a hallmark principle of

our judicial system.             See Johnson v. United States, 544 U.S.

295, 309       (2005)    (xx [T] he United States has an interest in the

finality of sentences imposed by its own courts.") ; Teacrue v.

Lane,    489     U.S.     288,     309    (1989)     ("Without       finality,   the

criminal law is deprived of much of its deterrent effect.")

Brewer has a very long and vexatious history of attacking his

criminal sentence, driving one of my brethren to twice enjoin
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him from filing motions in his habeas case.1                         (Docs.   1062,

1096.)     Nevertheless, in this instance, Brewer has seized upon

what he perceives as a new opportunity to revisit his sentence

based upon a decision out of the Eastern District of New York,

United States v. Holloway, 68 F. Supp. 3d 310 (E.D.N.Y. 2014).

Unfortunately for Brewer, his case is not the same as the case

of Francois Holloway.

      In the Holloway case,          the United States Attorney for the

Eastern     District    of    New    York,      upon   the     entreaty   of    the

sentencing judge, vacated two of Holloway's three 18 U.S.C. §

924(c) convictions because the resulting sentence was unjustly

severe.     Id. at 314-15.         The United States Attorney also noted

Holloway's *extraordinary" record while in the custody of the

Bureau of    Prisons.        Id.    at   315.    Importantly,        the Holloway

court observed that its decision was not a                   threat to the rule


of   finality:    "There are no floodgates              to     worry about;     the

authority exercised in this case will be used only as often as

the Department of Justice itself chooses to exercise it, which

will no doubt be sparingly."               Id. at 316.

      As   Brewer is surely aware,              this Court cannot reduce a




      1 Both injunctions were vacated by the Eleventh Circuit
as   overbroad.     (Docs.     1095,      1110.)       There    is   currently no
injunction in place against Brewer's filing activities, but he
is forewarned that this district judge will not look any more
favorably upon frivolous, repetitive, or harassing litigation
than did the late Honorable B.              Avant Edenfield.
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sentence once it has been imposed except under three limited

exceptions,          none    of    which     apply        here.       See    18    U.S.C.      §

3582(c)(2).           This        Court    has   no       other     broad     inherent       or

residual        power       to    reduce     sentences.              United       States     v.

Phillips,       597       F.3d     1190,    1194-95         (11th    Cir.     2010)        ("The

authority       of    a     district       court     to    modify      an    imprisonment

sentence is narrowly limited by statute.").                           Even the Holloway

court recognized that there were "no legal avenues or bases

for vacating" Holloway's sentence.                         68 F. Supp.        3d at 314.

Rather,    the sentence reduction in Holloway depended entirely

upon the acquiescence of the Government,                            i.e, by and through

the prosecutorial prerogative of the Department of Justice.

        In the case at bar, the Government has made clear that it

is unwilling to consent to any relief for Kyle Michael Brewer.

Without     the       Government's           involvement,            Holloway       has      no

application here.                Further,     this Court is not               inclined to

intercede in this matter with the Department of Justice.                                     Of

note,     the    Eleventh         Circuit     affirmed        the     decision        of    the

sentencing judge in 2012 to deny a sentence reduction to which

Brewer was otherwise entitled after considering the factors of

18 U.S.C.       § 3553(a).          (See Order of March 6,                2012,   Doc.     991,

aff'd United States v. Brewer,                     No. 12-11431 (11th Cir. Sept.

17,     2013)    (finding         the     district    court         did   not     abuse      its

discretion to deny the § 3582 sentence reduction) , Doc. 1094.)
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And although a different district judge ultimately reduced

Brewer's sentence to 387 months,              there was no indication that

the 387-month sentence was thought to be unduly harsh.                       (See

Doc.     1119.)      Thus,    another district judge and the court of

appeals have already determined that Brewer's imposed sentence

is not overly severe or manifestly unjust.                  The undersigned

judge concurs.

         Finally,    the Court is constrained to note that Holloway

is a district court decision and has no binding effect on this

Court.     Nor did Holloway create an actionable new right under

federal law.         The Eleventh Circuit has not even addressed the


so-called Holloway Doctrine.               Simply put, Holloway in no way

controls      this       Court's    ability    or   inclination     to     reduce

Brewer's sentence.            Accord United States v.     Horton,    No.    2:12-


CR-00007-F1,        2016 U.S.      Dist.   LEXIS 78611   (E.D.N.C.   June 16,

2 016)    (observing that the Holloway Doctrine is not so much a

doctrine as         it   is   "a single case carrying no precedential

weight in this court").

         Upon the foregoing,         Defendant's "Request for Immediate

Release Under the Holloway Doctrine"                (doc. 1133)   is DENIED.

         ORDER ENTERED at Augusta, Georgia, this /y1^ day of
April,     2017.




                                              UONQRAELfSr J . RANDAL HALL
                                              UNITED/ STATES DISTRICT JUDGE
                                              SOU32JERN DISTRICT OF GEORGIA
